
ORDER
Considering the Joint Petition for Interim Suspension filed by respondent, Vicki Kemp Cruse, and the Office of Disciplinary Counsel,
IT IS ORDERED that Vicki Kemp Cruse, Louisiana Bar Roll number 19531, be and she hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.3, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
IT IS FURTHER ORDERED that the proceedings in 07-B-1529 be dismissed as moot.
/s/ Pascal F. Calogero, Jr. Justice, Supreme Court of Louisiana
